Case 22-13240-elf         Doc 13Filed 12/21/22 Entered 12/21/22 15:34:15                      Desc Main
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                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

IN RE:           GLEN ALAN JONES                          :       Chapter 13
                                                          :
                                 Debtor                   :       Bky. No. 22-13240 ELF

                                              ORDER
        AND NOW, the Debtor having filed the above bankruptcy case in this court on December 2,
2022;

        AND, this case being subject to dismissal due to the Debtor’s failure to file required documents
within the time prescribed by the rules of court;

       AND, the Debtor having recently filed a prior bankruptcy case in this court on October 7, 2022,
docketed at Bky. No. 22-12696(“the Prior Case”);

       AND, the Prior Case also having been dismissed by the court on November 17, 2022 due to the
Debtor’s failure to file required documents within the time prescribed by the rules of court;

        AND, as a result of the foregoing history of two (2) cases, both filed close in time and both
dismissed for failure to file documents, it appearing that the Debtor may have filed this more recent
bankruptcy case in bad faith;


        It is therefore ORDERED that:

1. The above bankruptcy case is DISMISSED.

2. The court retains jurisdiction in this case and a telephonic hearing is scheduled on January 10, 2023,
   at 1:00 p.m. at which time the court will consider whether an Order should be entered
   RESTRICTING the Debtor’s right to file future bankruptcy cases.1

3. Pending the conclusion of the above hearing, the Debtor is PROHIBITED from filing any future
   bankruptcy case without prior court permission.

4. In the event that the Debtor attempts to file a bankruptcy case in violation of this order, THE
   CLERK IS INSTRUCTED NOT TO DOCKET THE BANKRUPTCY PETITION, but
   instead to deliver the papers immediately to the assigned bankruptcy judge for appropriate action.




Date: December 21, 2022
                                                 ERIC L. FRANK
                                                 U.S. BANKRUPTCY JUDGE
cc:     Glen Alan Jones
        262 Barbara Lane
        Warminster, PA 18974


        1
                 The Debtor may appear telephonically by calling (877) 336-1828 and using the access
code 1229352#.
